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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


United States of America,                                   Criminal No. 04-125 (03) (RHK)

                                         Plaintiff,         ORDER FOR CONTINUANCE

v.

Courtney Ann Mithaugen,

                                     Defendant.




       Upon application of the Defendant, the Court finds that it is in the interest of justice

that the Defendant's Motion for Continuance of the final revocation hearing is GRANTED.

       IT IS HEREBY ORDERED that the final revocation hearing scheduled for May 9,

2007, is postponed for one month. The Court will reschedule this hearing and notify

counsel.



Dated: May 3, 2007                                      s/Richard H. Kyle
                                                        RICHARD H. KYLE
                                                        United States District Judge
